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 4
     Attorney for Plaintiff
 5   LYDIA PACHECO-CESENA
 6

 7

 8                                              UNITED STATES DISTRICT COURT
 9                                           NORTHERN DISTRICT OF CALIFORNIA
10
     LYDIA PACHECO-CESENA,                                              Case No.: C 07-02974 MJJ
11
                       Plaintiff,                                       REQUEST TO ENTER DIMISSAL
12
                                                                        AND ORDER
            vs.
13
     JASON FLETCHER, et al.,
14

15                     Defendants.
16

17
            TO THE CLERK OF THE ABOVE-ENTITLED COURT:
18
            Please dismiss the entire action with prejudice.
19
     Dated: April 11, 2008                                                   /s/ J. Patrick Heron
20                                                                           J. PATRICK HERON
                                                                             Attorney for Plaintiff
21                                                                           LYDIA PACHECO-CESENA
22          Consent to the above dismissal is hereby given.

23   Dated: April 11, 2008                                                   /s/ Kevin E. Gilbert________
24                                                                           KEVIN E. GILBERT
25                                                                           Attorney for All Defendants
     Dismissal entered as requested on April _____, 2008
26
                           S DISTRICT                                        CLERK, U.S. DISTRICT COURT
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